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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-3001                                                September Term, 2022
                                                                      1:22-sc-02144-BAH
                                                       Filed On: February 16, 2023
In re: Sealed Case,

      BEFORE:         Henderson, Katsas, and Rao, Circuit Judges

                                        ORDER

       Upon consideration of the motion of the Reporters Committee for Freedom of the
Press (“Reporters Committee”) to unseal judicial records, the responses thereto, and
the reply, it is

      ORDERED that the motion be granted in part. Oral argument on Thursday,
February 23, 2023, will proceed first in open session, followed by a session closed to
the public. During the public session of the argument, the parties should be prepared to
discuss the following issues:

       (1) Whether this court has jurisdiction under 28 U.S.C. § 1291, the collateral
order doctrine, mandamus, or some other theory;

        (2) Whether the Speech or Debate Clause of the Constitution protects informal
legislative fact-finding by individual members of Congress in the absence of official
authorization; and

       (3) Whether the Speech or Debate Clause’s non-disclosure privilege extends to
communications between members of Congress and either private parties or members
of the Executive Branch.

       It is FURTHER ORDERED that consideration of the Reporters Committee’s
request to unseal the orders and filings in this appeal be deferred pending further order
of the court.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
